                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 14-CR-1006-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 MICHAEL MUNZ,                                      RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On February 26, 2014, a one-count Indictment was filed against the defendant
Michael Munz.        On April, 24, 2014, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment.
On April 24, 2014, Judge Scoles filed a Report and Recommendation in which he
recommended that the defendant’s guilty plea be accepted. No objections to Judge Scoles’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Scoles’s recommendation to accept the defendant’s plea in this case.
                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:



       Case 2:14-cr-01006-LRR-CJW        Document 39      Filed 05/12/14    Page 1 of 2
             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
April 24, 2014, and ACCEPTS the defendant’s plea of guilty in this case to Count 1 of
the Indictment.
      IT IS SO ORDERED.
      DATED this 12th day of May, 2014.




                                           2

    Case 2:14-cr-01006-LRR-CJW        Document 39      Filed 05/12/14    Page 2 of 2
